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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

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 G.F.F., et al.,                                            :
                                                            :   AMENDED TEMPORARY
                                               Petitioners, :   RESTRAINING ORDER
                       -against-                            :
                                                            :
                                                            :   25 Civ. 2886 (AKH)
 DONALD J. TRUMP, et al.,                                   :
                                                            :
                                             Respondents. :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

        WHEREAS, I have considered Petitioners’ motion for a temporary restraining order and

heard arguments from both parties on April 9, 2025; and

        WHEREAS, the Supreme Court, in its per curiam opinion of April 7, 2025, Trump v.

J.G.G., et al., No. 24A931, 2025 WL 1024097, vacated the March 15, 2025 temporary

restraining order of the United States District Court for the District of Columbia, which enjoined

the removal of a provisionally-certified class of “[a]ll noncitizen in U.S. custody who are subject

to the President’s Proclamation titled ‘Invocation of the Alien Enemies Act Regarding the

Invasion of the United States by Tren de Aragua,’” 90 Fed. Reg. 13033 (2025) (the “Presidential

Proclamation”), since in a habeas case, venue is proper only in the district of confinement; held

that an individual subject to detention and removal under the Alien Enemies Act (“AEA”), 50

U.S.C. § 21, et seq., is entitled to judicial review; and ruled that detainees being held pursuant to

the AEA are entitled to notice and an opportunity to be heard in such a manner as to allow them

to seek habeas relief in the proper venue—the district of confinement—before such removal

occurs; and

        WHEREAS, I find that Petitioners are likely to succeed on the merits of their claims, that

neither the AEA, nor the Presidential Proclamation, authorizes removal of detainees or other

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persons similarly situated, without notice and hearing; that Petitioners and persons similarly

situated will suffer irreparable injury in the absence of injunctive relief; and that the balance of

hardships and the public interest favor temporary relief, it is, therefore:

       ORDERED that Respondents, their agents, representatives, and all persons or entities

acting in concert with them are hereby:

       1. ORDERED, pending further order of this Court, not to remove Petitioners, including

           members of the certified class defined as “All noncitizens in federal, state, or local

           custody in the Southern District of New York who were, are, or will be subject to the

           March 2025 Presidential Proclamation entitled 'Invocation of the Alien Enemies Act

           Regarding the Invasion of the United States by Tren De Aragua' and/or its

           implementation, who have not been given notice following the Supreme Court's

           decision of April 7, 2025, Trump v. J.G.G., No. 24A931, 2025 WL 1024097, and

           granted a hearing,” from the United States under the Presidential Proclamation, unless

           upon notice and hearing, and such notice shall be written in English and Spanish, the

           language of those sought to be expelled, and if needed, Spanish-to-English interpreters

           shall be provided for hearings; and

       2. ORDERED, pending further order of this Court, not to transfer Petitioners, including

           members of the certified class defined as “All noncitizens in federal, state, or local

           custody in the Southern District of New York who were, are, or will be subject to the

           March 2025 Presidential Proclamation entitled 'Invocation of the Alien Enemies Act

           Regarding the Invasion of the United States by Tren De Aragua' and/or its

           implementation, who have not been given notice following the Supreme Court's

           decision of April 7, 2025, Trump v. J.G.G., No. 24A931, 2025 WL 1024097, and

           granted a hearing,” from the Southern District of New York; and,

       3. ORDERED that Petitioners shall not be required to furnish security for costs; and

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         4. ORDERED that Respondents shall file their brief in opposition to a preliminary

            injunction by April 15, 2025, and that Petitioners shall file their reply brief by April

            17, 2025; and

         5. ORDERED that the parties shall appear for a preliminary injunction hearing on April

            22, 2025, at 2:30 p.m., in Courtroom 14D. By April 17, 2025, the parties shall submit,

            via email to HellersteinNYSDChambers@nysd.uscourts.gov, a joint list of the

            attorneys expected to appear on the record at this hearing; and

         6. ORDERED that this temporary restraining order will expire at the conclusion of the

            preliminary injunction hearing, or by further order of the Court.



         SO ORDERED.

Dated:          April 11, 2025                 ___________________________________
                New York, New York                   ALVIN K. HELLERSTEIN
                                                     United States District Judge

Time:           1:10 p.m.




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